                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                       Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                                MDL No. 3004
 This Document Relates to All Cases



                                        ORDER

ROSENSTENGEL, Chief Judge:

       This Order addresses Defendants’ Status Report Regarding Hoffmann Discovery

Materials filed on August 30, 2021 (Doc. 319), and Plaintiffs’ Response to Defendants’

Objections to Production of Hoffmann Expert Materials filed on September 1, 2021

(Doc. 325).

       Before the In re: Paraquat Products Liability Litigation MDL was formed, similar

cases involving paraquat were pending for several years in St. Clair County, Illinois,

before the Honorable Kevin Hoerner. Hoffmann, et al. v. Syngenta Crop Protection, LLC, et

al., No. 17-L-517, was one of the St. Clair County cases and was set for trial in May 2021.

To date, the Hoffmann matter remains pending.

       This Court was aware of the status and history of the Hoffmann case soon after

receiving the assignment of the MDL. In order to move the MDL in an expeditious

manner, on July 23, 2021, the Court entered Case Management Order No. 5 and ordered

the production of certain Hoffmann materials. Thereafter, the Court was informed that

Stephen Tillery, counsel for Mr. Hoffmann, objected to the production of certain

documents pertaining to the Hoffmann matter. On August 19, 2021, the Court issued Case


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Management Order No. 6, ordering the parties to meet and confer on the objection raised

to production of certain categories of materials. The parties did not resolve the dispute;

therefore, the Court directed the parties to brief the issues.

       The Court has reviewed the submissions and exhibits submitted by all parties and

the applicable law. The Court finds that Plaintiffs are not requesting, nor will the Court

order, the production of Mr. Tillery’s proprietary thoughts or any attorney work product

completed by any party in Hoffmann. More specifically, the Court will not order the

production of any counsel’s notes, outlines, summaries, or compilations that were neither

served nor disclosed in a public forum.

       Nevertheless, for the reasons stated in Plaintiffs’ response brief, the Court hereby

ORDERS the following to be transmitted to Plaintiffs by September 10, 2021:

       1.     Discovery. To the extent not already produced, Defendants shall produce
              all written discovery requests and responses exchanged in Hoffmann.

       2.     Deposition transcripts. Defendants are ordered to produce all non-expert
              witness deposition transcripts and exhibits.

       3.     Expert reports. Defendants are ordered to produce all expert reports
              prepared by either party, subject to the limitation below.

       4.     Pleadings. To the extent not already produced, all pleadings in Hoffmann,
              including those filed under seal, are hereby ordered to be produced.

       All production of Hoffmann materials in the MDL shall be produced within the

confines of the Protective Order negotiated and entered by the Court on August 11, 2021.

(Doc. 218).

       Any materials identified above that contain specific biographical or identifying

information of plaintiffs in Hoffmann (or other paraquat cases pending in St. Clair County)



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shall be withheld, subject to the application of the protective order entered by the Court

in Hoffmann.

       Finally, counsel for Mr. Hoffmann and counsel for Defendants are DIRECTED to

file a motion before Judge Hoerner in the Circuit Court of St. Clair County, Illinois, on or

before September 10, 2021, regarding documents related to Mr. Tillery’s proprietary

thoughts, or any work product completed by any party in Hoffmann that is governed by

the Hoffmann protective order.

       IT IS SO ORDERED.

       DATED: September 3, 2021


                                                 ____________________________
                                                 NANCY J. ROSENSTENGEL
                                                 Chief U.S. District Judge




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